                Case 5:21-cv-05407-VKD Document 9 Filed 07/29/21 Page 1 of 7




 1   DANIKA DESAI (CA Bar #326575)
     ANDREA A. TREECE (CA Bar #237639)
 2   Earthjustice
     50 California Street, Suite 500
 3   San Francisco, CA 94111
 4   T: (415) 217-2000 / F: (415) 217-2040
     Email: ddesai@earthjustice.org
 5   Email: atreece@earthjustice.org

 6   Counsel for Plaintiff
 7                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8

 9   OCEANA, INC.,                                     Case No. 5:21-cv-05407-VKD

10                  Plaintiff,
11                           v.                        PROOF OF SERVICE
12
     GINA RAIMONDO, in her official capacity
13   as Secretary of Commerce; NATIONAL
     OCEANIC AND ATMOSPHERIC
14   ADMINISTRATION; and NATIONAL
     MARINE FISHERIES SERVICE,
15

16                  Defendants.

17

18
              I am a citizen of the United States of America and a resident of the city of Burien,
19
     Washington; I am over the age of 18 years and not a party to the within entitled action; my
20
     business address is 810 Third Ave., Suite 610, Seattle, Washington.
21
              I hereby certify that on July 15, 2021, I mailed the true and correct copies of the
22
     documents listed below by Certified Mail, postage prepaid, to the persons or entities listed
23
     below.
24
     Gina Raimondo                                         National Oceanic and Atmospheric
25   U.S. Department of Commerce                           Administration
     Room 5858                                             1315 East-West Highway, 14th Floor
26   1401 Constitution Ave. NW                             Silver Spring, MD 20910
27   Washington, DC 20230

28
     PROOF OF SERVICE
     CASE NO. 5:21-CV-05407-VKD                        1
             Case 5:21-cv-05407-VKD Document 9 Filed 07/29/21 Page 2 of 7




 1
     National Marine Fisheries Service               Merrick Garland
 2   1315 East-West Highway, 14th Floor              U.S. Dept. of Justice
     Silver Spring, MD 20910                         950 Pennsylvania Ave. NW
 3                                                   Washington, D.C. 20530
 4   Stephanie Hinds
     c/o Civil Process Clerk
 5   Federal Courthouse
     450 Golden Gate Ave.
 6   San Francisco, CA 94102
 7

 8
                               DOCUMENTS SERVED JULY 15, 2021
 9
          1. Complaint for Declaratory and Injunctive Relief;
10
          2. Summons Issued;
11
          3. Civil Case Scheduling Order;
12
          4. Order Setting Initial Case Management Schedule;
13
          5. Magistrate Judge DeMarchi’s Standing Order; and
14
          6. Notice of Assignment of Case to Magistrate Judge;
15
          7. ECF Registration Information.
16

17
           Executed on July 29, 2021, in Burien, Washington.
18

19                                            ___________________________
                                              Mary O’Hara
20

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     PROOF OF SERVICE
     CASE NO. 5:21-CV-05407-VKD                  2
                                  Case 5:21-cv-05407-VKD Document 9 Filed 07/29/21 Page 3 of 7
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                       1401       Constitution Ave. NW                             *****
                                                                                                                                     Administration                    -         ----**-**---4



                           Washington, DC 20230                                                                    1315 East-West Highway, 14th FI.
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                       Silver Spring, MD 20910                                                                                     Pennsylvania Ave. NW                      *



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                               clo Civil Process Clerk
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                                 450 Golden Gate Ave.                                      ---




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  Case 5:21-cv-05407-VKD Document 9 Filed 07/29/21 Page 5 of 7
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                                                                Tracking® Results Page 6 of 7


   USPS Tracking
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                                                  Track Another Package          +




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   Your item was delivered to an individual at the address at 6:57 am on July 19, 2021 in
   WASHINGTON, DC 20230.




     Delivered, Left with Individual
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   Get Updates         




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       Text & Email Updates


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       WASHINGTON, DC 20230
       Your item was delivered to an individual at the address at 6:57 am on July 19, 2021 in WASHINGTON, DC
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       July 19, 2021, 6:02 am
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       WASHINGTON, DC 20018




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       July 16, 2021, 10:46 pm
       Departed USPS Origin Facility
       KENT, WA 98035



       July 16, 2021, 10:19 pm
       Arrived at USPS Origin Facility
       KENT, WA 98035



       July 16, 2021
       In Transit to Next Facility



       July 15, 2021, 5:10 pm
       Departed Post Office
       SEATTLE, WA 98166



       July 15, 2021, 3:05 pm
       USPS in possession of item
       SEATTLE, WA 98166




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       Product Information



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                          Go to our FAQs section to find answers to your tracking questions.


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